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                                            #:431



 1    Arjun Vasan
 2    arjun.vasan@gmail.com
 3    12615 193rd Street
 4    Cerritos, CA 90703
 5    562-900-6541
 6    Plaintiff in Pro Per
 7
 8                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10
       Arjun Vasan,                                   Case No.: 2:25−cv−00765−MEMF−JPR
11
                    Plaintiff,
12
                                                      NOTICE OF ERRATA REGARDING
13
                                                      PLAINTIFF’S OPPOSITION TO
             vs.
14
                                                      DEFENDANT’S MOTION TO
15
                                                      DISMISS OR TRANSFER VENUE
       Checkmate.com, Inc.,
16
       (dba “Checkmate”),
17
                    Defendant.
18
19
20
      Plaintiff Arjun Vasan, proceeding pro se, hereby submits this Notice of Errata
21
      regarding Plaintiff’s Memorandum in Opposition to Defendant’s Motion to
22
      Dismiss or Transfer Venue, filed with this Court on April 09, 2025.
23
24
25    Plaintiff respectfully requests that the following corrections be noted:
26
            1.      Page 1, line 6: Remove the phrase “from.”
27
            2.      Page 2, line 2: Correct “Ex. E” to read “RJN, Ex. E.”
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                                           Notice of Errata
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 1           3.    Page 2, line 17: Correct citation from “Vasan Decl.” to “Vasan Decl.
 2    ¶5.”
 3
             4.    Page 9, line 16: Correct reference from “Ex. XX” to “Ex. R.”
 4
             5.    Page 9, line 23: Correct citation “¶¶15-19, 104-127” to accurately
 5
      reflect intended paragraphs.
 6
 7           6.    Page 9, line 25: Correct citation from “Vasan Decl. ¶XX” to “Vasan
 8    Decl. ¶25-26.”
 9           7.    Page 10, line 8: Remove the extraneous period after “Vasan Decl.
10    ¶¶4-6.”
11
             8.    Page 21, footnote 34: Correcting erroneous identifiers “K (1., 2., 3.)”
12
      and to ensure correct labeling of Exhibits I, J, and H.
13
14           9.    Page 22, line 9: Correct exhibit reference from “Ex. FC” to “Ex. F.”
15           10.   Page 23, lines 8–9: Delete incorrect reference “Exhibit W” following
16    mention of Pietari Grohn.
17
             11.   Page 23, line 15: Correct reference to accurately reflect “Exhibit Q.”
18
19
20    Plaintiff respectfully requests that the Court and the parties take notice of these
21    corrections in consideration of the Plaintiff’s memorandum. Plaintiff has attached
22    the corrected Memorandum for the convenience of all parties and the Court.
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                                            Notice of Errata
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 1                                                             Respectfully Submitted,
 2    Dated: Monday, April 14, 2025
 3
 4
 5
                                                         Arjun     Vasan
                                                     By: ________________________
 6                                                             Arjun Vasan
 7                                                             Plaintiff In Pro Per
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